Case 20-10343-LSS   Doc 913-1   Filed 06/30/20   Page 1 of 4




                       Exhibit A

                    Revised OCP List
         Case 20-10343-LSS    Doc 913-1   Filed 06/30/20    Page 2 of 4




                     Tier 1 Ordinary Course Professionals

         PROFESSIONAL              CATEGORY                  DETAILS
COVINGTON & BURLING              LAW FIRM          COUNSEL – INVESTIGATIONS
FTI CONSULTING                   CONSULTANT        STRATEGIC
                                                   COMMUNICATIONS AND
                                                   PUBLIC RELATIONS
HARPER AND PEARSON               AUDITORS          AUDIT AND FINANCIAL
                                                   STATEMENT PREPARATION
QUINN EMANUEL URQUHART &
SULLIVAN LLP                     LAW FIRM          DEFENSE COUNSEL
STEPTOE & JOHNSON PLLC           LAW FIRM          CORPORATE COUNSEL
TOWERS WATSON DELAWARE, INC      ACTUARY           PENSION/HEALTH & BENEFITS

                     Tier 2 Ordinary Course Professionals

           PROFESSIONAL           CATEGORY                   DETAILS
AN, TIAN, ZHANG & PARTNERS       LAW FIRM          COUNSEL - IP MATTERS
BASSFORD REMELE PA               LAW FIRM          DEFENSE COUNSEL
BAX ADVISORS                     CONSULTANT        GENERAL COUNSEL ADVISOR
BAYS LUNG ROSE HOLMA
ATTORNEYS AT LAW                 LAW FIRM          DEFENSE COUNSEL
BOND, SCHOENECK & KING PLLC      LAW FIRM          DEFENSE COUNSEL
BOONE KARLBERG PC                LAW FIRM          DEFENSE COUNSEL
                                 GOVERNMENT        GOVERNMENT RELATIONS /
BOY SCOUTS PARENTS INC           RELATIONS         LOBBYIST
                                                   CANADIAN IMMIGRATION
CAROLINA FRIDMAN LAW CORP        LAW FIRM          COUNSEL
CCPIT PATENT & TRADEMARK LAW     PATENT/TRAD       PATENT/TRADEMARK
OFFICE                           EMARK             COUNSEL
CIVILLE & TANG PLLC              LAW FIRM          DEFENSE COUNSEL
CLARKE SLIVERGLATE PA            LAW FIRM          DEFENSE COUNSEL
CONNELL FOLEY LLP                LAW FIRM          DEFENSE COUNSEL
CRANFILL SUMNER & HARTZOG LLP    LAW FIRM          DEFENSE COUNSEL
CROTTY & SCHLITZ LLC             LAW FIRM          INVESTIGATIONS COUNSEL
DENTONS US LLP                   LAW FIRM          DEFENSE COUNSEL
FLOYD, PFLUEGER & RINGER, P.S.   LAW FIRM          DEFENSE COUNSEL
FOLAND WICKENS ROPER HOFER       LAW FIRM          DEFENSE COUNSEL
FOX ROTHSCHILD LLP               LAW FIRM          COUNSEL - IP MATTERS
FREDRIKSON & BYRON, P.A.         LAW FIRM          DEFENSE COUNSEL
GEROLAMO MCNULTY DIVIS &
LEWBART PC                       LAW FIRM          DEFENSE COUNSEL
GRANT THORNTON                   AUDITORS          COUNSEL - IRS 4958 MATTERS
GREFE & SIDNEY PLC               LAW FIRM          DEFENSE COUNSEL
GRUBER THOMAS & CO               LAW FIRM          EMPLOYMENT COUNSEL
HAWLEY TROXELL ENNIS &           LAW FIRM          DEFENSE COUNSEL
          Case 20-10343-LSS    Doc 913-1   Filed 06/30/20   Page 3 of 4




        PROFESSIONAL                CATEGORY                  DETAILS
HAWLEY LLP
                                   GOVERNMENT      GOVERNMENT RELATIONS /
HECHT SPENCER & ASSOCIATES INC     RELATIONS       LOBBYIST
HEPLERBROOM LLC                    LAW FIRM        DEFENSE COUNSEL
HINSHAW & CULBERTSON LLP           LAW FIRM        DEFENSE COUNSEL
                                   FINANCIAL
HOWARD & CO., LLP                  FIRM            TAX PREPARATION
HUESTON HENNIGAN                   LAW FIRM        DEFENSE COUNSEL
JONES, SKELTON & HOCHULI, P.L.C.   LAW FIRM        DEFENSE COUNSEL
KELEHER & MCLEOD PA,
ATTORNEYS AT LAW                   LAW FIRM        DEFENSE COUNSEL
KELLER & ALMASSIAN PLC             LAW FIRM        DEFENSE COUNSEL
KIPP AND CHRISTIAN PC              LAW FIRM        DEFENSE COUNSEL
                                                   MATCH SAVINGS PLAN
LCG ASSOCIATES, INC                CONSULTANT      CONSULTING
LEWIS BRISBOIS BISGAARD & SMITH,
LLP                                LAW FIRM        DEFENSE COUNSEL
LIGHTFOOT FRANKLIN & WHITE LLC     LAW FIRM        DEFENSE COUNSEL
LOCKE LORD LLP                     LAW FIRM        DEFENSE COUNSEL
MANDELL MENKES, LLC                LAW FIRM        DEFENSE COUNSEL
MARKOWITZ HERBOLD GLADE AND
MEHLHAF PC                         LAW FIRM        DEFENSE COUNSEL
MCANGUS GOUDELOCK & COURIE         LAW FIRM        DEFENSE COUNSEL
MCGUIRE WOODS LLP                  LAW FIRM        DEFENSE COUNSEL
MCGUIRE, CRADDOCK & STROTHER
PC                                 LAW FIRM        DEFENSE COUNSEL
MCLANE MIDDLETON PROF ASSOC        LAW FIRM        DEFENSE COUNSEL
                                                   SPECIAL PROJECT
MEAD & HUNT INC                    CONSULTANT      CONSULTANT
MELICK PORTER LLP                  LAW FIRM        DEFENSE COUNSEL
MILLER & MARTIN PLLC               LAW FIRM        DEFENSE COUNSEL
MILLER JOHNSON SNELL &
CUMMISKEY PLC                      LAW FIRM        DEFENSE COUNSEL
                                                   ACTUARY - INSURANCE
MILLIMAN USA INC                   ACTUARY         RESERVES
MITCHELL, WILLIAMS, SELIG, GATES   LAW FIRM        DEFENSE COUNSEL
                                   ACCOUNTING      CANADIAN AUDIT
MNP LLP                            FIRM            CONSULTANT
NICHOLAS W MULICK PA               LAW FIRM        DEFENSE COUNSEL
                                                   SUPPLY AUDITOR (LICENSEE
NIGRO KARLIN SEGAL & FELDSTEIN     AUDITORS        AUDIT)
NORTON ROSE FULBRIGHT US LLP       LAW FIRM        ASIA TRADEMARK COUNSEL
PARK DIETZ & ASSOCIATES INC        CONSULTANT      DEFENSE EXPERT WITNESS
PERKINS COIE                       LAW FIRM        DEFENSE COUNSEL
RUHTER & REYNOLDS INC              CONSULTANT      DEFENSE COUNSEL
SAUL EWING LLP                     LAW FIRM        DEFENSE COUNSEL
SCHEPER KIM & HARRIS LLP           LAW FIRM        DEFENSE COUNSEL
                                      2
          Case 20-10343-LSS   Doc 913-1   Filed 06/30/20   Page 4 of 4




          PROFESSIONAL            CATEGORY                 DETAILS
SHEEHY WARE & PAPPAS PC          LAW FIRM         DEFENSE COUNSEL
SITLINGER & THEILER              LAW FIRM         DEFENSE COUNSEL
STICH ANGELL KREIDLER UNKE &
SCATTERGOOD                      LAW FIRM         INVESTIGATIONS COUNSEL
STILLWELL MIDGLEY PLCC           LAW FIRM         DEFENSE COUNSEL
STITES & HARBISON PLLC           LAW FIRM         DEFENSE COUNSEL
TAYLOR PORTER BROOKS &
PHILLIPS LLP                     LAW FIRM         DEFENSE COUNSEL
TEXAS MEDICAL LEGAL
CONSULTANTS                      CONSULTANT       DEFENSE EXPERT WITNESS
THOMPSON COE & O'MEARA LLP       LAW FIRM         DEFENSE COUNSEL
UPSHAW WILLIAMS BIGGERS          LAW FIRM         DEFENSE COUNSEL
VERNIS & BOWLING OF THE
FLORIDA KEYS, P.A.               LAW FIRM         DEFENSE COUNSEL
VINSON & ELKINS LLP              LAW FIRM         EMPLOYMENT COUNSEL
WHITE AND WILLIAMS LLP           LAW FIRM         DEFENSE COUNSEL
WHITNEY SMITH COMPANY INC.       CONSULTANT       DEFENSE EXPERT WITNESS
WICKER, SMITH, O'HARA, MCCOY &
FORD PA                          LAW FIRM         DEFENSE COUNSEL
WIGGIN & DANA LLP                LAW FIRM         DEFENSE COUNSEL
WILSON ELSER MOSKOWITZ           LAW FIRM         DEFENSE COUNSEL
WINSTON & STRAWN LLP             LAW FIRM         DEFENSE COUNSEL




                                     3
